
TAYLOR, Presiding Judge.
Grady Gibson was convicted, along with Eddie Hart, of the murder of Mrs. Dana Hart, Eddie Hart’s wife. Gibson and Hart were tried jointly. For purpose of appeal, their convictions were consolidated and are now under submission in this court in Grady Gibson v. State, 3 Div. 823, and Eddie Hart v. State, 3 Div. 873.
This is an appeal from the circuit court’s denial of Gibson’s petition for post-conviction relief pursuant to Rule 20, Ala.R.Crim. P.Temp. Rule 20 proceedings are an outgrowth of the old coram nobis proceedings. The rule has long been that a coram nobis does not lie if a direct appeal is presently pending in the appellate court. Robinson v. State, 396 So.2d 1089 (Ala.Cr.App.1981); Summers v. State, 366 So.2d 336 (Ala.Cr.App.1978), writ denied, 366 So.2d 346 (Ala.1979). We hold that this rule also applies to Rule 20 proceedings. Accordingly, the Rule 20 proceeding does not lie, and this appeal is due to be dismissed.
APPEAL DISMISSED.
All the Judges concur.
